                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

HARRY ANTHONY SCHEINA, III,                   )
                                              )
                   Plaintiff,                 )
                                              )       Case No. 18-03210-CV-S-BP
        v.                                    )
                                              )
JAMES SIGMAN, et al.                          )
                                              )
                   Defendants.                )


              PLAINTIFF’S RESPONSE TO DEFENDANT TEXAS COUNTY’S
                              STANDING ARGUMENT


        COMES NOW Plaintiff Harry Anthony Scheina, III, by and through undersigned

counsel, and pursuant to this Court’s Order of May 2, 2019, responds solely to Defendant Texas

County’s injection of standing as follows:


   I.        Introduction


   Texas County has moved to dismiss itself as a party to Plaintiff’s suit. In its reply to

Plaintiff’s Suggestions in Opposition to Defendant Texas County’s Motion to Dismiss [Doc. #

56], Texas County improperly raises the issue of standing for the first time, while simultaneously

failing to raise the issue in accordance with Federal Rule 12 or object pursuant to any specific

federal rule. Following Texas County’s general injection of this issue in its reply suggestions, the

Court instructed Plaintiff to address Plaintiff’s standing as it relates to the requested injunctive

relief in Counts III and IV. [Doc. # 31]. Count IV includes only prospective relief. However,

Count III also includes a request for damages. Texas County is not challenging Plaintiff’s

standing for damages. The facts giving Plaintiff standing for injunctive relief are essentially the


                                                  1

             Case 6:18-cv-03210-BP Document 62 Filed 05/10/19 Page 1 of 7
same for both Counts III and IV. Therefore, Plaintiff addresses the issue of standing without

differentiation between the two.


   II.      Argument

            A. Plaintiff Has Alleged An Official Policy


         Texas County objects to Plaintiff’s standing for injunctive relief on the basis he is no

longer incarcerated. Specifically, Texas County argues “[s]ince Plaintiff is no longer an inmate

in the jail, he has no standing to make such a claim.” [Doc. # 56 pg. 2]. That is an inaccurate

statement of the law. It is not a requirement Plaintiff be incarcerated for him to have standing for

injunctive relief against Texas County. To establish standing, a plaintiff must show 1) an “injury

in fact” that is concrete and particularized and actual or imminent, not conjectural or

hypothetical; 2) the injury is fairly traceable to the challenged action of the defendant; and 3) it is

likely, and not speculative that the injury will be redressed by a favorable decision. Friends of

the Earth, Inc. v. Laidlaw Environmental Services (TOC), Inc., 528 U.S. 167, 180-81 (2000).

For injunctive relief, Plaintiff has standing if he can establish both a likelihood of future harm

and the existence of an official policy. Shain v. Ellison, 356 F.3d 211, 216 (2nd Cir. 2004) (citing

City of Los Angeles v. Lyons, 461 U.S. 95, 105-06(1983)).


         Texas County does not argue Plaintiff failed to raise an official policy. Plaintiff has

clearly pled several official policies in both Counts III and IV of the Amended Complaint. The

official policies implemented by the Texas County Sheriff’s Department and Texas County

include, but are not limited to: insufficient funding of medical care at Texas County Jail; not

transporting inmates to medical appointments; requiring inmates to pre-pay for dental services;

and refusing to pay for medical care for inmates/detainees at the Texas County Jail. [Doc. # 31


                                                  2

           Case 6:18-cv-03210-BP Document 62 Filed 05/10/19 Page 2 of 7
pp. 21-27] Therefore, Plaintiff’s standing rests solely on the likelihood Plaintiff will suffer future

harm and not, as Defendant incorrectly asserts, on whether he has been released from custody.


             B. Plaintiff’s Future Harm Is Highly Likely And Not Speculative


       Plaintiff suffers from a real and immediate threat of future harm. Texas County is correct

that Plaintiff is no longer incarcerated at Texas County Jail as he is currently housed in the

Missouri Department of Corrections (DOC). However, Plaintiff’s re-incarceration at Texas

County Jail is almost certain. Plaintiff’s current sentence was executed pursuant to §217.362

RSMo, which enrolled Plaintiff into a “long term drug rehabilitation” program within DOC. This

statute allows Plaintiff to complete a rehabilitation program before reentering society on a term

of probation to be supervised by Division of Probation and Parole. §217.750 RSMo. Plaintiff

will finish this program in August 2019. While on probation, Plaintiff will be subject to the

standard conditions set forth by the Division of Probation and Parole, which include conditions

requiring Plaintiff to maintain employment, pay intervention fees1, and court costs. Furthermore,

within the 25th Judicial Circuit, and specifically Texas County, probationers are ordered to

complete a determined amount of “shock” time in the Texas County Jail pursuant to § 559.026

RSMo at the discretion of an offender’s probation officer in the even probation conditions are

violated.2


       Plaintiff is also an indigent individual. Several courts, including this Court, have

recognized this fact through indigency determinations, including the appointments of a public

1
  An intervention fee is a statutorily permissible monthly fee paid to the Division of Probation
and Parole for simply being on probation. The fee is to help fund community based rehabilitation
and vocational programs. § 217.690 RSMo.
2
  For example, in case number 17TE-CR00391-01, the case for which Plaintiff is currently
incarcerated, the Court initially ordered Plaintiff to serve 20 days shock time at the discretion of
his probation officer.
                                                  3

             Case 6:18-cv-03210-BP Document 62 Filed 05/10/19 Page 3 of 7
defender for criminal representation. His indigency makes it likely he will be unable to pay the

fees required by the terms of his probation. Plaintiff’s employment opportunities are further

diminished by his lack of education and reliable transportation making it highly unlikely Plaintiff

will be able to maintain consistent employment. For example, in the arrest referenced in

paragraph 25 of the Amended Complaint, Plaintiff was traveling by foot as he was walking the

nearly 100 miles from Springfield, Missouri to his home in Pomona, Missouri because he lacked

transportation. [Doc. #31 pp. 6]. Given Plaintiff’s status as a felon, his long history of indigency,

lack of employment opportunities, and his near illiteracy, Plaintiff will certainly return to a state

of indigency upon his release from DOC and be unable to comply with the conditions of his

probation. He will almost certainly be re-incarcerated in Texas County Jail, even if he never

commits another crime.


       Lyons is the only case Texas County cites which directly analyzes standing. 3 The largest

hurdle Lyons sets for prospective relief is future harm. Future injuries cannot be too speculative

or conjectural nor can they be based on the anticipation a plaintiff will violate lawful criminal

statutes. Id. at 102. It is assumed that plaintiffs will conduct their activities within the law to

avoid prosecution and conviction as well as exposure to challenged course of conduct. Id. As to

whether the changed course of conduct is likely to recur, past wrongs are evidence bearing on

whether there is a real and immediate threat of repeated injury. O’Shea v. Littleton, 414 U.S. 488,

495-96 (1974).


       In Lyons, the plaintiff sued the City of Los Angeles over law enforcement’s use of

chokeholds after plaintiff was subjected to a chokehold during a traffic stop.           In denying

3
 The other cases to which Texas County cites, Martin v. Sargent, 780 F.2d 1334 (1985), and
Wycoff v. Brewer, 572 F.2d 1260 (1978), both address whether the respective plaintiffs’ standing
had been rendered moot.
                                                 4

          Case 6:18-cv-03210-BP Document 62 Filed 05/10/19 Page 4 of 7
plaintiff’s standing, the Court indicated that plaintiff’s future injury of being subjected to a

chokehold was too speculative. Like Plaintiff, Lyons was not incarcerated at the time of his suit.

The Court pointed out that Lyons’s future encounters with law enforcement were naturally

predicated on his future violations of the law and the speculation that the individual police

officer would, in fact, use a chokehold on Lyons. The Court indicated this made Lyons’s future

harm too speculative.


       Plaintiff’s case is distinguishable from Lyons. Unlike Lyons, Plaintiff’s future contact

with law enforcement is not speculative. It is mandatory. Plaintiff will be required to meet

regularly with his probation officer during which his probation performance will be reviewed.

Missouri probation officers have authority to issue warrants and arrest probationers for any

failure to comply with probation conditions. §217.722 RSMo. Therefore, Plaintiff’s probation

officer can arrest and sanction Plaintiff with jail time for not maintaining employment or not

paying intervention fees or court costs. These incarcerations for sanctions are not subject to the

due process procedures present in traditional probation violations because a judge has made it a

condition of probation. § 559.026 RSMo.


       Further distinguishing Lyons, Plaintiff’s re-incarceration is not predicated on reoffending.

Plaintiff’s re-incarceration is predicated on two things that are largely out of his control: his

financial situation and his probation status. Indigency and unemployment will prevent Plaintiff

from being able to afford intervention fees each month he is on probation. Lyons informs the

court that it must be assumed Plaintiff will act lawfully and without misconduct. However, this

Court is not required to assume Plaintiff will miraculously become an individual of sufficient

means to afford monthly intervention fees. It is certainly not unlawful nor misconduct to be

indigent or unemployed. It is the unfortunate reality that many in Plaintiff’s position face.

                                                5

          Case 6:18-cv-03210-BP Document 62 Filed 05/10/19 Page 5 of 7
Standing does not require that Plaintiff pay his monthly bills. Requiring such would add an

additional layer to standing analysis: whether a plaintiff can afford to stay out of jail.


       It is almost certain Plaintiff will be re-incarcerated in the Texas County Jail as a sanction

for not being able to afford to pay fees and costs, or being able to maintain employment. Once

re-incarcerated, the Plaintiff will be subjected to the same official policies clearly pled in Counts

III and IV, which caused exacerbation of his injuries, and complications from which Plaintiff still

suffers. While Plaintiff’s past injuries alone cannot be used to justify injunctive relief, Plaintiff’s

previous injuries from the clearly pled official policies are further evidence of the harm Plaintiff

would suffer upon his return to Texas County Jail. Plaintiff has standing to seek the injuctive

relief he has requested in his First Amended Complaint.


       While Plaintiff does have standing, Plaintiff also notes that how and when the court must

address standing is not defined. “As there is no statutory direction for procedure upon an issue of

jurisdiction issue, the mode of its determination is left to the court.” Zunamon v. Brown, 418

F.2d. 883, 886 (8th Cir. 1969)(citing Gibbs v. Buck, 307 U.S. 66, 71-72 (1939)); see Federal Rule

of Civil Procedure 12(i). Plaintiff has not sought a preliminary injunction, nor has this court

granted one; therefore, Texas County is not injured or aggrieved by delaying determination of

standing.


       Wherefore, Plaintiff respectfully requests this Court find Plaintiff has standing to pursue

his requested injunctive relief in Counts III and IV , deny Defendants requested relief for

dismissal, order Defendant Texas County to answer Plaintiff’s Amended Complaint, and for such

other relief as this court deems just and proper.




                                                    6

            Case 6:18-cv-03210-BP Document 62 Filed 05/10/19 Page 6 of 7
                                 Respectfully Submitted,


                                 STEELMAN & GAUNT

                                 /s/ Stephen F. Gaunt
                           By:   ___________________________
                                 Stephen F. Gaunt, #33183
                                 David L. Steelman, #27334
                                 901 N. Pine St, Suite 110
                                 P.O. Box 1257
                                 Rolla, MO 65402
                                 Telephone:     573-341-8336
                                 Fax:           573-341-8548
                                 dsteelman@steelmanandgaunt.com
                                 sgaunt@steelmanandgaunt.com



                        LAW OFFICE OF CHRISTOPHER J. SWATOSH


                                 /s/ Christopher J. Swatosh
                           By:   ______________________________
                                 Christopher J. Swatosh, # 45845
                                 P.O. Box 190
                                 200 E. Washington St.
                                 Ava, MO 65608
                                 Telephone:     417-683-2987
                                 Fax:           417-683-2983
                                 cswatosh@getgoin.net

                                 ATTORNEYS FOR PLAINTIFF




                             7

Case 6:18-cv-03210-BP Document 62 Filed 05/10/19 Page 7 of 7
